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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

UNITED STATES OF AMERICA

-vs-                                                             Case No.: 2:11-cr-97-FtM-99SPC

ERIC BONITA,
_______________________________________


                                             ORDER

       This matter comes before the Court on the Motion for Costs (Doc. #145) filed on February

23, 2012. The Defendant’s Counsel moves the Court for the cost of purchasing computer equipment

for discovery purposes. Counsel indicates that the electronic discovery is voluminous to the extent

that hard drives must be purchased to store the significant amount of discovery materials including

fixed video surveillance recordings. Co-Counsel have contacted several stores to obtain costs for the

equipment and maintain it can be purchasse for under $400.001

       Pursuant to the Guidelines for Administering the CJA and Related Statutes, Authorization

and Payment for Investigative, Expert, or Other Services, § 320.70.40, Counsel may acquire the

approved items in conformance with the Guide to Judiciary Policy, Volume 7A, Chapter 3, § 320.70.

Both the acquisition of the computer software and/or hardware and the procurement of litigation

support services, should be submitted on Form CJA 21 (Authorization and Voucher for Expert and

Other Services). Because this hardware and/or software are for the use of counsel appointed under



       1
      At Best Buy, the most reasonably priced 1.5 terabyte (TB)
internal SATA drive is one hundred and fifty dollars ($150.00), a
320 gigabyte (GB) internal SATA drive is one hundred and eighty two
dollars($182.00), and an external USB drive enclosure to connect
the hard drives directly to the computer is twenty six
dollars($26.00).
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the CJA and is being purchased with United States government funds, the approved items are and

will remain the property of the United States. The items are to be used only in the course of the

representation of the above named defendant[s]. Counsel must use due diligence and care to maintain

the property in good condition.

       Accordingly, it is now

       ORDERED:

        The Motion for Costs (Doc. #145) is GRANTED. The Court approves the acquisition of

the following:

       1)        One (1) internal SATA hard drive with at least 1.5 Terabyte(TB)

       2)        One (1) internal SATA hard drive with at least 320 gigabytes (GB)

       3)        An external USB hard drive enclosure to connect the hard drive directly to computer.

       The total expenditure shall not exceed $400.00.

       DONE AND ORDERED at Fort Myers, Florida, this 5th                 day of March, 2012




Copies: All Parties of Record




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